               Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 1 of 9




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 8
 9                            UNITED STATES DISTRICT COURT

10                          NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
11
12         IN RE: CAPACITORS                   Master File No. 3:14-cv-03264-JD
13         ANTITRUST LITIGATION

14                                             UNITED STATES’ NOTICE OF
                                               MOTION FOR LIMITED DISCOVERY
15                                             STAY
16
                                               Date: January 25, 2018
17                                             Time: 10:00 a.m.
18                                             Judge: Honorable James Donato
                                                      Courtroom 11, 19th Floor
19
20   //

21   //

22   //

23   //

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25   //

26   //

27   ///

28   ///


     NOTICE OF MOTION FOR                                         Case No. 3:14-cv-03264-JD
     LIMITED DISCOVERY STAY
              Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 2 of 9




 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT on January 25, 2018, at 10:00 a.m., or as soon
 3   thereafter as this matter may be heard in Courtroom 11, 19th Floor, 450 Golden Gate Avenue,
 4   San Francisco, California, before the Honorable James Donato, the United States will and hereby
 5
     does move this Court for an order for a limited stay of civil discovery, postponing the
 6
     depositions of Satoshi Okubo, Kazuhiko Mitsuhori, Norio Kasuga, Hiroyuki Imai, Tadashi
 7
     Yoshida, Toshihiro Yoshikawa, as well as any other later-noticed depositions of potential
 8
     government trial witnesses in the corresponding criminal matter, United States v. Nippon Chemi-
 9
     Con Corp., CR 17-540-JD(N.D. Cal.). The proposed stay begins on the date of entry of the
10
     Proposed Order and continues until the conclusion of the criminal proceedings. A limited stay of
11
     the civil depositions of the government’s proposed trial witnesses is necessary to preserve the
12
     integrity of the closely related criminal case.
13
14          This motion is based on a Memorandum of Points and Authorities and a Declaration of

15   Mikal J. Condon in support thereof, as well as the accompanying proposed order.

16
17   Dated: December 15, 2017                              Respectfully Submitted,

18
19                                                         /s/ Mikal J. Condon
20                                                         JACKLIN CHOU LEM
                                                           HOWARD J. PARKER
21                                                         MIKAL J. CONDON
                                                           Trial Attorneys
22                                                         U.S. Department of Justice
23                                                         Antitrust Division

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     NOTICE OF MOTION FOR                                                    Case No. 3:14-cv-03264-JD
     LIMITED DISCOVERY STAY
              Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 3 of 9




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 9                           UNITED STATES DISTRICT COURT

10                         NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
11
12        IN RE: CAPACITORS                   Master File No. 3:14-cv-03264-JD
          ANTITRUST LITIGATION
13
                                              MEMORANDUM OF POINTS AND
14                                            AUTHORITIES IN SUPPORT OF
15                                            MOTION FOR LIMITED DISCOVERY
                                              STAY OF CIVIL DEPOSITIONS
16
17                                            Date: January 25, 2018
                                              Time: 10:00 a.m.
18                                            Judge: Honorable James Donato
                                                     Courtroom 11, 19th Floor
19
20   //
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     MEMORANDUM OF POINTS AND AUTHORITIES                        Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
              Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 4 of 9




 1   I.     Introduction
 2          The United States Department of Justice Antitrust Division seeks a limited stay of civil
 3   discovery postponing depositions of individuals who are potential trial witnesses in the parallel,
 4   and closely related, criminal action. The charged defendant is Nippon Chemi-Con Corporation.
 5   See United States v. Nippon Chemi-Con Corp., CR 17-540-JD (N.D. Cal.).
 6          The government’s proposed limited stay postpones the civil depositions of the
 7   government’s trial witnesses until after the conclusion of the criminal trial, or other conclusion of
 8   the criminal proceedings. Pretrial depositions of prospective government witnesses are not
 9   normally permitted by the Federal Rules of Criminal Procedure, which are carefully crafted to
10   provide a balance between the government and the criminally accused to provide for the efficient
11   public administration of justice, to protect against fabrication of testimony, and to level the
12   playing field for the government with criminal defendants who have Fifth Amendment
13   privileges. Criminal defendants are not entitled to use civil discovery to impermissibly evade
14   these restrictions on criminal discovery.
15          Denying the government’s request for a limited discovery stay would enable Nippon
16   Chemi-Con to use civil discovery in this case to improperly expand the scope of criminal
17   discovery. The government’s proposed stay balances the government’s interest in protecting the
18   integrity of the criminal proceedings and the interests in permitting civil plaintiffs to conduct
19   discovery and move forward to seek restitution for the victims of the price-fixing scheme.1
20   II.    Background
21          In 2014, Plaintiffs filed this civil suit against numerous defendants, including Nippon
22   Chemi-Con, alleging that they suffered damages as a result of Defendants’ scheme to fix prices
23   of electrolytic capacitors. The government has conducted a parallel criminal investigation of
24   multiple companies, including Nippon Chemi-Con, regarding the same conduct that gave rise to
25   the civil suit. Since the government’s investigation began, seven companies have pleaded guilty
26
27   1
       The government understands that Nippon Chemi-Con does not oppose this request for a limited
28   stay of depositions, as long as any stay extends to depositions of Nippon Chemi-Con’s
     employees. (Declaration of Mikal J. Condon, ¶ 3.)
                                                       2
     MEMORANDUM OF POINTS AND AUTHORITIES                                      Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
              Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 5 of 9




 1   based on their role in the scheme. Ten individuals have also been charged, including Satoshi
 2   Okubo, a former employee of Matsuo Electric Co., Ltd.
 3          On May 26, 2016, Plaintiffs deposed Okubo, who invoked his Fifth Amendment
 4   privilege against self-incrimination based on the criminal charges filed against him and refused
 5   to answer any questions. Okubo later pleaded guilty to those charges. See United States v.
 6   Okubo, CR-17-00074-JD (N.D. Cal.) at Dkt. 19. Plaintiffs then requested leave to take a second
 7   deposition of Okubo at the Lompoc penitentiary, where he is currently serving a year-and-a-day
 8   sentence. (Dkt. 1885, 1886.)
 9          On October 18, 2017, Nippon Chemi-Con was indicted for its involvement in the price-
10   fixing scheme. See United States v. Nippon Chemi-Con Corp., CR 17-540-JD (N.D. Cal.)
11   (related on October 30, Dkt. 1932). The government then informed the Court that, in order to
12   protect the integrity of the criminal proceedings, it intended to seek a partial stay of discovery as
13   to deponents in the civil trial, including Okubo, who would likely be witnesses in the parallel
14   criminal trial against Nippon Chemi-Con. (Dkt. 1904.)
15          Following the October 26 hearing on Plaintiffs’ request for a second deposition of
16   Okubo, the Court sought supplemental briefing from the parties. The Court asked Plaintiffs to
17   identify the issues Okubo could uniquely address that would not be covered by the adverse
18   inference resulting from Okubo’s earlier invocation of the Fifth Amendment privilege. (Dkt.
19   1926.) The parties submitted multiple supplemental filings. (See Dkt. 1947, 1967, 1969, 1971,
20   1975.) In the course of that briefing process, Nippon Chemi-Con submitted a letter brief
21   “request[ing] that the Court permit [Okubo’s] deposition to go forward so that the parties can
22   obtain Mr. Okubo’s substantive testimony[,]” because “[Okubo] is uniquely positioned to
23   provide substantive testimony regarding his recollection of the meetings he attended and his
24   communications with NCC.” (Dkt. 1969.)
25          In light of the fact that Nippon Chemi-Con is now seeking substantive testimony from the
26   government’s proposed trial witnesses, the government seeks a limited stay of deposition
27   discovery as to the depositions of Okubo and other potential witnesses in the parallel criminal
28   trial in order to protect the integrity of the criminal proceedings. At this time, the government

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     MEMORANDUM OF POINTS AND AUTHORITIES                                      Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
               Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 6 of 9




 1   seeks to defer the depositions of six individuals—Okubo, Kazuhiko Mitsuhori of Rubycon,
 2   Norio Kasuga of Rubycon, Hiroyuki Imai of Elna, Tadashi Yoshida of Panasonic, and Toshihiro
 3   Yoshikawa of Panasonic—as well as any other later-noticed depositions of potential criminal
 4   trial witnesses.2
 5   III.    A Stay of Depositions of the Government’s Criminal Trial Witnesses Is Necessary to
 6           Ensure the Integrity of the Criminal Proceeding.
 7           “[A] court may decide in its discretion to stay civil proceedings . . . ‘when the interests of
 8   justice seem [ ] to require such action.’” Keating v. Office of Thrift Supervision, 45 F.3d 322,
 9   324 (9th Cir. 1995), citing United States v. Kordel, 397 U.S. 1, 12 n.27 (1970). The Court in
10   Keating established six factors to be considered when deciding whether to stay civil proceedings:
11           (1)     the interest of the plaintiffs in proceeding expeditiously with the proceedings and
12                   the potential prejudice to plaintiffs caused by a delay;
13           (2)     the burden that the civil proceedings may impose on the defendants;
14           (3)     the court’s interest in case management and efficient use of judicial resources;
15           (4)     the interests of individuals who are not party to the civil litigation;
16           (5)     the public interest in the pending civil and criminal litigation; and
17           (6)     the extent to which the defendants’ Fifth Amendment rights are implicated by the
18                   civil proceedings.
19   See Keating, 45 F.3d at 324-25.
20           Where—as here—there is a pending, parallel criminal case, the critical Keating factor is
21   the public interest in criminal enforcement. Because “[t]he public has a vital interest in the
22   integrity of public markets, efficient punishment of wrongdoers, and deterrence of similar
23   conduct by other corporate officers,” the public interest in criminal enforcement “is best served
24   by resolving the criminal case in the most expeditious manner possible.” S.E.C. v. Nicholas, 569
25   F. Supp. 2d 1065, 1072 (C.D. Cal. 2008) (granting a stay of civil case); Bureerong v. Uvawas,
26
     2
       The individuals identified in the government’s limited stay request are witnesses whose
27   depositions are either currently noticed, or for whom Plaintiffs have sought deposition dates. In
28   the event that additional potential trial witnesses are noticed for deposition, the government
     intends to expand the scope of its limited stay to include those witnesses as well.
                                                        4
     MEMORANDUM OF POINTS AND AUTHORITIES                                        Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
                 Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 7 of 9




 1   167 F.R.D. 83, 87 (C.D. Cal. 1996) (granting a stay of civil discovery because “the interests of
 2   the Government in protecting its criminal investigation are clearly the paramount concern”);
 3   S.E.C. v. Christian Stanley, Inc., No. CV 11-7147 GHK (MANx), 2012 WL 13009158, *6 (C.D.
 4   Cal. Sept. 6, 2012) (“[T]he case for staying civil discovery is the strongest after the defendant is
 5   indicted and facing a parallel criminal proceeding.”)
 6              While civil defendants have liberal discovery rights, those rights are circumscribed in the
 7   criminal context. Limitations on criminal discovery exist “to prevent perjury and manufactured
 8   evidence, to protect potential witness[es] from harassment and intimidation, and to level the
 9   playing field between the government and the defendant, who would be shielded from certain
10   discovery by the Fifth Amendment.” Nicholas, 569 F. Supp. 2d at 1071-72, citing Campbell v.
11   Eastland, 307 F.2d 478, 487 n.12; see also Nicholas, 569 F. Supp. 2d at 1072 n.8 (“[C]riminal
12   discovery rules were crafted with an eye toward fairness for all concerned—the defendant, the
13   prosecution, and the public.”). In this way, criminal discovery obligations “protect the integrity
14   and truth-seeking function of the criminal process.” Nicholas, 569 F. Supp. 2d at 1072.
15              A limited stay would prevent Nippon Chemi-Con from impermissibly using civil
16   depositions to evade these restrictions on criminal discovery. Allowing civil depositions of the
17   government’s trial witnesses to proceed would “expand rights of criminal discovery beyond the
18   limits of Federal Rule of Criminal Procedure 16(b).” S.E.C. v. Dresser Indus., Inc., 628 F.2d
19   1368, 1376 (D.C. Cir. 1980). Courts have repeatedly rejected similar “attempt[s] to use civil
20   discovery mechanisms to obtain disclosures that are otherwise unavailable under the criminal
21   rules.” Nicholas, 569 F. Supp. 2d at 1072 (citing cases).
22   IV.        A Limited Stay of Deposition Discovery Protects the Other Keating Factors.
23              The government’s proposed limited discovery stay also balances the other Keating
24   factors.
25              First, a limited stay will not interfere with Plaintiffs’ interest in proceeding expeditiously
26   in the civil litigation. The government is only seeking to stay the depositions of a limited
27   number of civil deponents. The stay will not halt other discovery, settlement conferences, or
28   other proceedings. In addition, the vast majority of deposition discovery has already occurred—

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     MEMORANDUM OF POINTS AND AUTHORITIES                                          Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
              Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 8 of 9




 1   indeed, Plaintiffs have already deposed over 50 witnesses. Nor will a limited stay prejudice
 2   Plaintiffs, as they would be free to proceed with the relevant depositions after completion of the
 3   criminal trial. Because that trial is scheduled for October 2018, the stay would only be in effect
 4   for about 10 months. Moreover—and of critical importance—if the government is able to secure
 5   a guilty plea or conviction against Nippon Chemi-Con, this will aid Plaintiffs in their ability to
 6   secure civil relief. A guilty plea or conviction will eliminate the need for Plaintiffs to prove civil
 7   liability and allow them to focus solely on proving damages.
 8          Second, a limited stay will not disadvantage either Plaintiffs or Nippon Chemi-Con, as
 9   neither side will be able to depose the government’s trial witnesses until after the conclusion of
10   the criminal proceeding. Also, given the October criminal trial date, the stay request is for a
11   defined and limited period of time.
12          Third, non-party interests favor the government’s requested relief. Any criminal
13   convictions obtained by the government will materially aid victims in their recovery of damages,
14   and a stay will protect non-party trial witnesses from potential harassment and intimidation.
15          Finally, judicial economy weighs in favor of the proposed stay. Resolution of the
16   criminal case would simplify and expedite the civil proceedings before this Court. Bureerong,
17   167 F.R.D. at 87 (stating that resolution of a parallel criminal matter “would pare down the
18   issues to be determined in the civil case, and serve the interests of judicial economy by
19   narrowing the focus of the action[.]”).
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     MEMORANDUM OF POINTS AND AUTHORITIES                                      Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
              Case 3:14-cv-03264-JD Document 1981 Filed 12/15/17 Page 9 of 9




 1   V.     Conclusion
 2          For the foregoing reasons, the government respectfully requests that the Court grant the
 3   government’s motion for a limited stay of civil depositions, which will delay the depositions of
 4   Okubo, Mitsuhori, Norio Kasuga, Imai, Yoshida and Yoshikawa, as well as any other later-
 5   noticed depositions of potential criminal trial witnesses, until after the conclusion of the trial or
 6   other final proceedings in United States v. Nippon Chemi-Con Corp., CR 17-540-JD (N.D. Cal.).
 7
 8   Dated: December 15, 2017                               Respectfully Submitted,
 9
                                                            /s/ Mikal J. Condon
10
                                                            JACKLIN CHOU LEM
11                                                          HOWARD J. PARKER
                                                            MIKAL J. CONDON
12                                                          Trial Attorneys
13                                                          U.S. Department of Justice
                                                            Antitrust Division
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     MEMORANDUM OF POINTS AND AUTHORITIES                                       Case No. 3:14-cv-03264-JD
     ISO UNITED STATES’ MOTION FOR LIMITED
     DISCOVERY STAY
